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 6

 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       Case No. 2:15-CR-0138-JAM

12                       Plaintiff,
                                                     STIPULATION AND [PROPOSED]
13                                                   ORDER TO CONTINUE PRELIMINARY
     v.                                              HEARING
14

15   OTILIA MALDONADO-VARGAS and JUAN                Date: July 27, 2015
     MUNOZ-HERRERA, et. al.,                         Time: 2:00 p.m.
16                                                   Judge: Judge Dale A. Drozd
                         Defendants.
17

18

19
                                            STIPULATION
20
            Plaintiff United States of America, by and through its counsel of record, and
21
     defendant JUAN MUNOZ-HERRERA, through his counsel of record, hereby stipulate as
22
     follows:
23
            1.    By previous order, this matter was set for a preliminary hearing on July 27,
24
     2015, at 2 p.m., before Judge Dale A. Drozd.
25
            2.    On July 16, 2015, an Indictment was filed. [ECF 6].
26
            2.    By this stipulation, defendant MUNOZ-HERRERA now moves to continue the
27
     preliminary hearing and reset it as an arraignment on the Indictment on July 28, 2015, at
28



     1            STIPULATION AND [PROPOSED] ORDER TO CONTINUE PRELIMINARY HEARING
           Case 2:15-cr-00138-GEB Document 10 Filed 07/27/15 Page 2 of 3



 1   2:00 p.m., before Judge Dale A. Drozd, and to exclude time between July 27, 2015, and
 2   July 28, 2015, inclusive, under Local Code T4 (to allow defense counsel time to prepare).
 3            3.   The parties agree and stipulate, and request that the Court find the following:
 4            a.   Counsel for defendant is unavailable on July 27, 2015, due to a calendaring
 5   conflict with a pending criminal case in which a hearing is scheduled for 1:35 p.m. in
 6   Department 62 of Sacramento Superior Court.
 7            b.   Counsel for defendant’s attendance at both the Sacramento Superior Court
 8   hearing and at defendant’s arraignment is necessary for continuity of counsel in each of the
 9   cases.
10            c.   Counsel for defendant needs additional time to consult with her client to review
11   the current charges in the Indictment.
12            d.   Counsel for defendant believes that failure to grant the above-requested
13   continuance would deny them the reasonable time necessary for effective preparation,
14   taking into account the exercise of due diligence.
15            e.   The government does not object to the continuance.
16            f.   Based on the above-stated findings, the ends of justice served by continuing
17   the case as requested outweigh the interest of the public and the defendant in a trial within
18   the original date prescribed by the Speedy Trial Act.
19            g.   For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
20   3161, et seq., within which trial must commence, the time period of July 27, 2015, to July
21   28, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv)
22   [Local Code T4] because it results from a continuance granted by the Court at defendants’
23   request on the basis of the Court's finding that the ends of justice served by taking such
24   action outweigh the best interest of the public and the defendant in a speedy trial.
25            4.   Nothing in this stipulation and order shall preclude a finding that other
26   provisions of the Speedy Trial Act dictate that additional time periods are excludable from
27   the period within which a trial must commence.
28   ///


     2             STIPULATION AND [PROPOSED] ORDER TO CONTINUE PRELIMINARY HEARING
             Case 2:15-cr-00138-GEB Document 10 Filed 07/27/15 Page 3 of 3



 1
                                                 Respectfully submitted,
 2

 3   Dated: July 23, 2015                        /s/ Candice L. Fields for
                                                 SAMUEL WONG
 4
                                                 Assistant United States Attorney
 5                                               Attorney for Plaintiff

 6   Dated: July 23, 2015                        /s/ Candice L. Fields
                                                 Candice L. Fields
 7
                                                 Attorney for Defendant
 8                                               JUAN MUNOZ-HERRERA

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10
                                                  ORDER
11
              UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that
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     the preliminary hearing presently set for July 27, 2015, at 2:00 p.m., be continued to an
13
     arraignment on July 28, 2015, at 2:00 p.m., due to defense counsel’s calendaring conflict.
14
     Counsel for defendant has represented that her attendance at both a Sacramento Superior
15
     Court hearing and at defendant’s arraignment is necessary for continuity of counsel in each
16
     of the cases.
17
              Based on the representation of counsel and good cause appearing therefrom, the
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     Court hereby finds that the ends of justice to be served by granting a continuance outweigh
19
     the best interests of the public and the defendant in a speedy trial. It is ordered that time
20
     from July 27, 2015, to and including, July 28, 2015, shall be excluded from computation of
21
     time within which the trial of this matter must be commenced under the Speedy Trial Act
22
     pursuant to 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) [reasonable time for counsel to prepare]
23
     (Local Code T4).
24
              IT IS SO ORDERED.
25
     Dated: July 27, 2015
26

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28 herrerra0138.stip.cont.PE



     3                 STIPULATION AND [PROPOSED] ORDER TO CONTINUE PRELIMINARY HEARING
